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                                                                           Distnd Court

HONORABLE CHIEF JUDGE RAMONA V. MANGLONA
MAGISTRATE JUDGE HEATHER L KENNEDY                                        MAR 3 1 ZGZ2
In the United States district Court for the Northern Mariana Islands                 ^        .
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Dear Honorable Chief Judge Ramona V. Manglona and
     Magistrate Judge Heather L. Kennedy

Greetings;
Your honor,I'm also a big VICTIM on this Civil case No. l;21-cv-00015.

When I was terminated in Ken Aqua Hotel and Resort,Inc.,dba Aqua Resort Hotel
Saipan as a Security guard and Security guard supervisor because of my HEARING
PROBLEM (Discrimination Case Civil action No. 16-00008) in 2014, my employer
NENITA VALDEZ MARQUEZ dba NVM ENTERPRISES, she re-assigned me at
LONGFENG CORPORATION dba XO Market and Party Poker around 2014 until
around 2017.


Before my employer assigned me in XO MARKET and PARTY POKER, she
instructed me to re-submit a new proposal adjustment contract rate in
accordance with the Federal Minimum labor wage law because the contract rate
an hour between Nenita Valdez Marquez dba NVM Enterprises and LONGFENG
CORPRORATION dba XO Market and Party Poker is far behind in the US Standard
Federal Minimum Labor Wage Law.

However, your honor only to be denied by Ms. Xu Gui Qing the owner of LONG
FENG CORPORATION dba XO Market and Party Poker. She even threaten to
change our company and award her company to another Bangladesh security
agency who offer more below the minimum wage law if our company insisting to
asked for the Minimum Labor wage law.

On that time I really need work to support my family in the Philippines for their
financial daily need. I have no choice I accept though behind the minimum wage
law as long I have work.
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                                    p-2 of p-1
My duties and responsibilities as security guard at Party Poker room is to protect
and safeguard the life of the customers as well as the Cashier booth from any
Criminal Act. My tour of duty from 11:00 am to 7:00 am. However,the owner of
XO Ms,XU Gui Qing she give me additional work.She instructed me that before I
start my duty as a security guard at Party Poker room, I will work at XO Market
store from 11:00 pm as a Bagger and other work not related to security no
question on that, it's a client need, until closing time at the store around 12
midnight then I continue to my regular post at Party Poker until 7:00 am,8 hours
a day, Monday to Sunday and 7 days a week.

In the year 2017 my employer she asked me to stop working at XO Market and at
Party Poker as she give me another work responsibilities in her other business
and aside as her Security Supervisor.

Meanwhile, the allegations of the plaintiffs that I'm doing business and or
operated and controlled under my name FELOTED V RANADA dba NVM
Enterprises, it's a lie and false accusation.

N.V.M Stand for; NENITA VALDEZ MARQEZ dba NVM ENTERPRISES and it is not
FELOTED V. RANADA dba NVM Enterprises.

WHEREFORE,I respectfully request again a motion that no judgement be entered
against me and that this action be dismissed. And any other such relief as the
court deems just and equitable. Thank you very much.



I beg to remain.                    - Attached herewith my;
                                    -CW-1-1-129 petition for a none immigrant
Respectfully submitted by;            worker,as a proof and other documents,
                                     that I'm only employee of Nenita Valdez
Feloteo V. Ranada                     Marquez dba NVM Enterprises.
Defendant Pro Se
Case civil case NO. 1:21-00015
Tel #(670)287-0147
Email; ranadafeloteo@vahoo.com
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                         Case  1:21-cv-00015                    Document 39 Filed 03/31/22 Page 4 of 6
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              Case 1:21-cv-00015 Document 39 Filed 03/31/22 Page 5 of 6




                  FAMCO Security Services                                                       '-
                               P.O. BOX 787, SAIPAN, MP, U.S.A., 96950
   C/ypflV
                                           TEL: 234-0446/8403

FIXED POST SECURITY o ROVING PATROL o SECURITY ESCORT SERVICES o PROCESS SERVER SERVICES o COLLECTION SERVICES




      February 22,1993




      TO WHOM IT MAY CONCERN:


      This is to certify that Mr. Feloteo V. Ranada is an employee of
      FAMCO Security Services as a Supervisor from 1989 up to present,
      his employment with FAMCO Security Services will automatically
      be renewed every year it expires until the time Mr. Ranada F-V
      decides to resign.

      He is receiving a monthly salary/compensation of Eight Hundred
      Dollars Only (US$800.00).

      Be it known to be for being worthy to his job, honest and loyal
      to our company.

     This certification is being issued upon the request of Mr. Rahada
     for whatever legal purposes it may serve.


     Sincerely,




             ces B. Attao




     File
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                      MJA RESORT CUJB
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                 CERTIFICATION




TO WHOM IT MAY CONCEKN:



This to ca:tify that MR.FELOTEO V.RANADA an employee
of FAMCO ^curity Services, has been assigned in Aqua Resort
Club Saipan Co., Ltd. since January 1991 as Security Supervisor.

MR.RANADA handled his asagnment with confidence, has
excellent working relationship, efficient and trustworthy.
He is an asset to any cx)nipany or establishment he may choose in
his future career.

This certification is being issued to Mr.Ranada for whatever legal
purpose it may serve him best.

Given this 15th day of November 1993 at Saipan Commonwealth
of the Northern Mariana Islands.




 [YRNA M BO'
       Personnel Manager
